   Case 2:85-cv-04544-DMG-AGR Document 103 Filed 02/03/15 Page 1 of 2 Page ID #:1637
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                              for the
                                                   Central District
                                                __________  Districtofof
                                                                       California
                                                                         __________


                Jenny Lisette Flores, et al.,                    )
                             Plaintiff                           )
                                v.                               )      Case No.     CV 85-4544
        Eric H. Holder, Jr., Attorney General, et al.,           )
                            Defendant                            )

                                                 APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Jeh Jonson, Secretary of Homeland Security, et al.                                                             .


Date:          02/03/2015                                                                  /s/ Sarah B. Fabian
                                                                                            Attorney’s signature


                                                                               Sarah B. Fabian (MA BBO# 660662)
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                             CERTIFICATE OF SERVICE

         I hereby certify that on February 3, 2015, I served the foregoing pleading on

   all counsel of record by means of the District Clerk=s CM/ECF electronic filing

   system.



                                               /s/ Sarah B. Fabian
                                               SARAH B. FABIAN
                                               U.S. Department of Justice
                                               District Court Section
                                               Office of Immigration Litigation

                                               Attorney for Defendants
